        Case 6:17-cv-01346-LSC Document 20 Filed 10/16/18 Page 1 of 1                 FILED
                                                                             2018 Oct-16 AM 09:36
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                           JASPER DIVISION
 LETISIA POOLE,                       )
                                      )
        Plaintiff,
                                      )
  vs.                                 )
                                      )             6:17-cv-01346-LSC
 ENTERPRISE RECOVERY
                                      )
 SYSTEMS, INC.,
                                      )
        Defendant.                    )
                                      )
                                      )
                                      )

                                   Order

     This Court acknowledges receipt of the parties’ Joint Stipulation of

Dismissal (Doc. 19) filed on October 15, 2018. Accordingly, the case is

DISMISSED WITH PREJUDICE and costs are taxed as paid.

     DONE and ORDERED on October 16, 2018.



                                           _____________________________
                                                   L. Scott Coogler
                                              United States District Judge
                                                                             194800




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